Case 1:19-cr-10080-LTS Document 2212-2 Filed 09/14/21 Page 1 of 7




                         EXHIBIT B
Case 1:19-cr-10080-LTS Document 2212-2 Filed 09/14/21 Page 2 of 7
Case 1:19-cr-10080-LTS Document 2212-2 Filed 09/14/21 Page 3 of 7
Case 1:19-cr-10080-LTS Document 2212-2 Filed 09/14/21 Page 4 of 7
Case 1:19-cr-10080-LTS Document 2212-2 Filed 09/14/21 Page 5 of 7
Case 1:19-cr-10080-LTS Document 2212-2 Filed 09/14/21 Page 6 of 7
Case 1:19-cr-10080-LTS Document 2212-2 Filed 09/14/21 Page 7 of 7
